            Case 2:18-cv-00045-CRE Document 1 Filed 01/09/18 Page 1 of 4



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


VICTORY MEDIA, INC.                              Case No. ________________________

               Plaintiff,

       v.

WORLD EDUCATION, LLC d/b/a
WORLDEDUCATION.NET

               Defendant.


                                         COMPLAINT

       AND NOW comes Victory Media, Inc., by its attorneys, Metz Lewis Brodman Must

O’Keefe LLC, and files the within Complaint, and in support states the following:

                                             Parties

       1.      Plaintiff Victory Media, Inc. (“Victory”) is a Pennsylvania corporation with a

principal place of business located at 420 Rouser Road, Suite 101, Moon Township, PA 15108.

       2.      Defendant World Education, LLC d/b/a WorldEducation.net (“Defendant”), is a

Texas limited liability company with a principal place of business located at 4514 Travis Street,

Suite 212, Dallas, TX 75205 and a last known mailing address of P.O. Box 151526, Arlington,

TX 76015. Upon information and belief, none of the members of Defendant are citizens of the

Commonwealth of Pennsylvania.

                                    Jurisdiction and Venue

       3.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332.

       4.      Venue is proper in the United States District Court for the Western District of

Pennsylvania pursuant to 28 U.S.C. § 1391.
            Case 2:18-cv-00045-CRE Document 1 Filed 01/09/18 Page 2 of 4



                                       Factual Background

       5.      Victory is a veterans-oriented media relations firm offering nationally recognized

media and advertising services through certain proprietary brands. Defendant is a provider of

online education and training programs.

       6.      Victory and Defendant are parties to an April 26, 2017 contractual agreement (the

“Agreement”), pursuant to which Victory agreed to provide certain advertising and marketing

services to Defendant, including print advertisements, online banner advertising, newsletter

placements, social media posts, and sponsored content (the “Services”) as more fully described

in the Agreement. A true and correct copy of the Agreement is attached hereto marked as

Exhibit A and is incorporated herein by reference.

       7.      In accordance with the Agreement, Victory provided the Services to Defendant.

       8.      Pursuant to the terms of the Agreement, payment in full for all Services is due to

Victory within thirty (30) days of the date of the Agreement.

       9.      Despite demand, Defendant has failed to timely make payment for the Services.

       10.     Defendant has not lodged any complaints with Victory respecting the quality or

quantity of Services provided.

       11.     As of the date of this Complaint, the principal balance due from Defendant to

Victory totals $109,900.08, exclusive of interest, attorneys’ fees, and costs.

       12.     In its communications with Victory, Defendant has admitted that the amount set

forth herein is currently due. Notwithstanding, Defendant refuses to pay.

                                            Count I
                                       Breach of Contract

       13.     Victory incorporates by reference the allegations of Paragraphs 1-12 of this

Complaint as if more fully set forth herein.



                                                 2
          Case 2:18-cv-00045-CRE Document 1 Filed 01/09/18 Page 3 of 4



       14.     Victory and Defendant entered into a legally enforceable contract, evidenced by

the Agreement, that, among other things, requires Defendant to timely remit payment for all

Services provided by Victory.

       15.     The Agreement is supported by adequate consideration and defined by

unambiguous terms that were mutually agreed upon by the parties.

       16.     Victory has performed its obligations under the Agreement by providing the

agreed-upon Services at the agreed-upon price.

       17.     As more fully set forth above, Defendant has breached the Agreement by failing

to timely remit payment to Victory of all amounts due and owing.

       18.     Defendant’s breach of the Agreement has directly and proximately caused

damage to Victory in a total amount to be determined at trial.

       WHEREFORE, Plaintiff Victory Media, Inc. respectfully requests that this Court grant

judgment in its favor and against Defendant World Education, LLC d/b/a WorldEducation.net in

an amount in excess of $75,000.00 to be determined at trial, plus pre- and post-judgment interest,

attorneys’ fees, all costs of suit, and such other relief as is necessary and appropriate.

                                         Count II
                          Unjust Enrichment – Alternative to Count I

       19.     Victory incorporates by reference the allegations off Paragraphs 1-18 of this

Complaint as if more fully set forth herein.

       20.     Victory provided the Services to Defendant as described above.

       21.     Defendant accepted the Services provided by Victory and has enjoyed the benefit

of the Services provided by Victory.

       22.     Victory has made demand for payment for the Services enjoyed by Defendant, but

despite such demand, Defendant has refused to remit payment of the amount due.



                                                   3
          Case 2:18-cv-00045-CRE Document 1 Filed 01/09/18 Page 4 of 4



       23.      It is unconscionable for Defendant to enjoy the benefit of the Services provided

by Victory without fully paying for said Services.

       24.     Accordingly, and as an alternative to Count I of this Complaint, Defendant has

been unjustly enriched to the detriment of Victory.

       25.     As a direct and proximate result of Defendant’s unjust enrichment, Victory has

suffered damages in a total amount to be determined at trial.

       WHEREFORE, Plaintiff Victory Media, Inc. respectfully requests that this Court grant

judgment in its favor and against Defendant World Education, LLC d/b/a WorldEducation.net in

an amount in excess of $75,000.00 to be determined at trial, plus pre- and post-judgment interest,

attorneys’ fees, all costs of suit, and such other relief as is necessary and appropriate.

                                                       Respectfully Submitted,

Date: January 9, 2018                                  METZ LEWIS BRODMAN MUST
                                                       O’KEEFE LLC

                                                       By: /s/ Justin M. Tuskan
                                                            Justin M. Tuskan (PA ID 311235)
                                                            535 Smithfield Street, 8th Floor
                                                            Pittsburgh, PA 15222
                                                            Phone: (412) 918-1100
                                                            Fax: (412) 918-1199
                                                            jtuskan@metzlewis.com
                                                            Attorneys for Plaintiff Victory
                                                            Media, Inc.




                                                   4
